Case 1:01-cv-12257-PBS Document 6195-19 Filed 06/26/09 Page 1 of 7
       Case 1:01-cv-12257-PBS Document 6195-19 Filed 06/26/09 Page 2 of 7

Paoletti, Lesli                                                July 26, 2007
                                   New York, NY

                                                                              Page 1
              UNITED STATES DISTRICT COURT

            FOR THE DISTRICT OF MASSACHUSETTS

   -----------------------------------X

   THE COMMONWEALTH OF MASSACHUSETTS, )    CIVIL ACTION NO.

                 Plaintiff,            )   03-CV-11865-PBS

                                       )

              vs.                      )

                                       )     VIDEOTAPED

   MYLAN LABORATORIES, INC.; BARR      )   DEPOSITION OF

   LABORATORIES, INC.; DURAMED         )   LESLI PAOLETTI

   PHARMACEUTICALS, INC.; IVAX         )

   CORPORATION; WARRICK                )

   PHARMACEUTICALS CORPORATION;        )     New York,

   WATSON PHARMACEUTICALS, INC.;       )     New York

   SCHEIN PHARMACEUTICAL, INC.; TEVA   )   July 26, 2007

   PHARMACEUTICALS USA, INC.; PAR      )

   PHARMACEUTICAL, INC.; DEY, INC.;    )

   ETHEX CORPORATION; PUREPAC          )

   PHARMACEUTICAL CO.; and ROXANE      )    Reported By:

   LABORATORIES, INC.,                 )    CATHI IRISH,

                 Defendants.           )     RPR, CLVS

   -----------------------------------X




                         Henderson Legal Services
                               202-220-4158

                                                                 cbcef5b7-de87-41ea-82f8-5c305bb1c548
             Case 1:01-cv-12257-PBS Document 6195-19 Filed 06/26/09 Page 3 of 7

Paoletti, Lesli                                                                        July 26, 2007
                                             New York, NY
                                               Page 14                                                  Page 16
 1   ipratropium bromide?                                 1   involved some between '98 when I started working
 2      A. Yes.                                           2   for Judy and 2002 -- 2003 when I started working
 3      Q. So except for the Roxicodone, you had          3   directly for Paul Kersten in the capacity of
 4   responsibility for all the products that are at      4   product manager.
 5   issue in this litigation, is that correct, or at     5   BY MR. HEIDLAGE:
 6   least the ones I just mentioned?                     6      Q. Let me show you a document which has
 7      A. The ones you mentioned, yes.                   7   been marked as Exhibit Waterer 081 in Ms.
 8      Q. How do your duties currently as the            8   Waterer's deposition and ask you if that's a
 9   associate director of marketing differ from the      9   document that you've seen before.
10   duties you had as a senior product manager?         10      A. Yes.
11      A. They don't.                                   11      Q. Is it a document that you prepared?
12      Q. Okay. So in essence, your duties and          12      A. No.
13   responsibilities from at least the time period      13      Q. Do you know who prepared it?
14   that you became -- that you were a product          14      A. No.
15   manager until today were essentially the same?      15      Q. Did you prepare any of the information
16      A. Yes.                                          16   that is contained in Exhibit Waterer 081?
17      Q. Is that correct? When did you become          17      A. Yes.
18   product manager?                                    18      Q. And what information did you prepare?
19      A. January of 2002.                              19      A. Judy Waterer and I both prepared
20      Q. And prior to that time, what were your        20   jointly some of these tables on pages 2, 3 and 4.
21   duties and responsibilities?                        21      Q. Okay. Just for the record, can you
22      A. I still had responsibility for the --         22   describe what your role was in preparing the
                                               Page 15                                                  Page 17
 1   the same group of products, but to a slightly        1   tables on pages 2, 3 and 4 of Exhibit Waterer
 2   lesser -- I would say slightly lesser authority.     2   081?
 3       Q. Is that because at the time that you          3       A. Well, Judy and I both did it together
 4   were reporting to Ms. Waterer?                       4   digging through files, both electronic and
 5       A. Correct.                                      5   written, to research the information that was
 6       Q. Is it fair to say that the types of           6   ultimately -- we ultimately compiled and put into
 7   functions that you carried out and                   7   the document.
 8   responsibilities that you carried out were           8       Q. Now when there was a document that you
 9   essentially the same, except that you were           9   located that -- and from which you took some of
10   working under the supervision of Ms. Waterer?       10   the information that went into one of these
11          MR. REALE: Objection to form.                11   tables, did you make a copy of that document?
12          THE WITNESS: For what length of time?        12       A. Yes.
13          MR. HEIDLAGE: As the -- prior to the         13       Q. What did you do with the copies of
14   time that you became product manager.               14   those documents?
15          MR. REALE: Same objection.                   15       A. We put them in a file, a work file, so
16          THE WITNESS: I think they probably           16   that we could reference them later if we needed
17   changed from the time I initially started working   17   to.
18   -- prior to working for Judy, I worked in other     18       Q. And do you know where that file is
19   departments, so there's a difference in those       19   today?
20   positions and the responsibilities I had while I    20       A. I don't.
21   was working for Judy.                               21       Q. What did you do with the file?
22          I think the responsibilities may have        22       A. Actually, Judy had possession of the
                                                                                    5 (Pages 14 to 17)
                                Henderson Legal Services
                                      202-220-4158

                                                                                         cbcef5b7-de87-41ea-82f8-5c305bb1c548
             Case 1:01-cv-12257-PBS Document 6195-19 Filed 06/26/09 Page 4 of 7

Paoletti, Lesli                                                                       July 26, 2007
                                           New York, NY
                                            Page 106                                                  Page 108
 1   the prompt payment terms impact. And then if you 1       basic reasons that it was done, and whether it
 2   look at page 4, the grids for lithium carbonate    2     was because it was close to cost or not, it
 3   capsules for the date March 16th, 1998, there's a  3     definitely had to do with the two percent versus
 4   -- it shows a WAC price, and the reason for that   4     the margin, our internal profit margin.
 5   change to that WAC price was to minimize prompt 5               MR. HEIDLAGE: Let's mark this as the
 6   payment terms impact.                              6     next exhibit.
 7           Do you see that?                           7                (Exhibit Paoletti 004, document
 8       A. Yes.                                        8     Bates stamped PAOLETTI 04387 through 390, marked
 9       Q. Are you aware of any other instances in     9     for identification, as of this date.)
10   which Roxane lowered its WAC prices on a general  10     BY MR. HEIDLAGE:
11   basis in order to minimize prompt payment terms   11        Q. Ms. Paoletti, what I've just placed
12   impact?                                           12     before you and marked as Exhibit Paoletti 004 is
13           MR. REALE: Objection, form.               13     a document, a four-page document with Bates
14           THE WITNESS: We may have done it on       14     numbers PAOLETTI 04387 through 04390, and ask you
15   individual products over the years. The only two  15     whether you've seen that before.
16   -- I should say the biggest two I think we did    16        A. I don't recall, but I probably have. My
17   that on were the -- the -- are the December of    17     name's on it, so I assume I've seen it before.
18   '97 and the March 16th of '98. Those were the --  18        Q. Do you recall participating -- your
19   I think those were probably the big ones.         19     earlier testimony was that this was a time period
20           The December one being like a pilot to    20     before you started working for Ms. Waterer.
21   work through our internal processes, make sure    21            Do you recall that you worked on the
22   that we could administer it efficiently, and then 22     project for the WAC price adjustment in another
                                            Page 107                                                  Page 109
 1   the rest of them done in March of the following      1   capacity?
 2   year.                                                2      A. I, for a period of time before I worked
 3   BY MR. HEIDLAGE:                                     3   for Judy, did data entry and meeting planning and
 4       Q. Okay. And just in general, can you            4   some other things. One of the -- one of the
 5   describe what the purpose of the reductions in       5   responsibilities I had was to -- to take the
 6   the WACs were in those instances?                    6   documents for source program and -- and marry the
 7       A. Those occurred prior to my starting to        7   documents, the supporting documents up with
 8   work for Judy. I may have been involved in some      8   checks that were mailed out and just track, you
 9   of the administrative roles that were required to    9   know, track, make sure everything was sent out.
10   implement it. It was my understanding that we       10          I also did some data entry into the
11   did it because the -- the -- just what we talked    11   system for the source programs, what the -- what
12   about earlier, where the impact put many of our -   12   the IT programs ran off of. And because I was
13   - it was digging into the margin. The Roxane        13   working at the time for the director of national
14   margin was fairly small as it was. So it was to     14   accounts and the director of sales, any
15   minimize that 2 percent prompt payment term         15   administrative information that one of them would
16   impact.                                             16   want to send out to a customer, I might help them
17       Q. And is that because the actual prices        17   compile.
18   to the customers were getting so low that the 2     18          So in an administrative role, not -- to
19   percent prompt payment discount was getting to be   19   me, at the time this was very much like numbers
20   too large of a percentage of your actual margin?    20   into a system rather than the concept behind the
21       A. Again, I wasn't -- I couldn't speak to       21   numbers. Does that make sense?
22   any individual product. I know -- I know the        22      Q. Yes, it does. And I appreciate that.
                                                                              28 (Pages 106 to 109)
                               Henderson Legal Services
                                     202-220-4158

                                                                                        cbcef5b7-de87-41ea-82f8-5c305bb1c548
             Case 1:01-cv-12257-PBS Document 6195-19 Filed 06/26/09 Page 5 of 7

Paoletti, Lesli                                                                      July 26, 2007
                                           New York, NY
                                            Page 110                                                 Page 112
 1           Now your testimony was that you at that     1   entry pieces of it.
 2   time had some function with regard to the source    2          In reading this document, it looks like
 3   programs?                                           3   they did a financial assessment, and I believe
 4       A. I did data entry into the -- I think it      4   they did do a financial assessment of, you know,
 5   was the AS 400 at the time, but some computer       5   what's the impact of shelf stock adjustments and
 6   system that was run monthly. I think it was         6   things like that that -- that we would incur when
 7   monthly, or quarterly? I don't know. Monthly or     7   we reduced the WAC.
 8   quarterly. And it would calculate rebates           8       Q. And do you know whether in connection
 9   associated with that program.                       9   with any of the shelf -- strike that.
10       Q. And what kinds of data would you be         10          Do you know whether in connection with
11   entering into that system, if you recall?          11   any of the programs to reduce the WACs, Roxane
12       A. No, I don't. It's been 10 years ago.        12   Laboratories ever came to the conclusion that its
13       Q. Now, did you have any participation in      13   net sales would be impacted by the WAC reduction?
14   WAC price -- price adjustments to minimize the     14       A. I think that they were in the -- in the
15   prompt pay discount after this 1998 time period?   15   March of '98, I think they were negatively
16       A. Yeah, I should have been involved in        16   impacted.
17   the -- let's go back through. By 2000, for the     17       Q. In net revenues?
18   azathioprine I would have been in that role.       18       A. Yes. I should say negatively impacted
19   Really anything after -- just about anything       19   in the short-term because the -- the purpose of
20   after 1998, though for a period of time when I     20   it, one of the purposes of it was in the long-
21   first started, there were a few products that      21   term to -- to lessen the impact of the prompt
22   Judy handled because they were larger products,    22   payment terms. But in the initial
                                            Page 111                                                 Page 113
 1   ipratropium. Now that I think about it,            1    implementation, I think there was a negative
 2   azathioprine might have been one of them, too.     2    impact to it.
 3          There were maybe a handful of products      3       Q. Let me show you a document which has
 4   that she remained direct control over, but I       4    previously been marked as Exhibit Waterer 085 in
 5   would work in an administrative role for her and   5    Ms. Waterer's deposition. And specifically, let
 6   help put together data and things like that. But   6    me direct your attention to the second page of
 7   after -- after about '98, '99, I was involved in,  7    that document. And -- and I'm going to direct
 8   at some level, in most of them.                    8    your attention to the second full paragraph of
 9       Q. In connection with any of the programs      9    page 2 of Exhibit Waterer 085, and it starts,
10   that Roxane entered into in order to reduce its - 10    "Impact on gross sales."
11   - strike that.                                    11           Do you see that?
12          At any of the times that Roxane reduced    12       A. Okay. Okay.
13   its WAC to minimize the prompt pay discounts, did 13       Q. That paragraph states in the last
14   anyone from Roxane form any kind of an analysis 14      sentence, does it not, that net sales are not
15   as to whether or not there was any loss revenue   15    expected to be impacted by the WAC price change
16   to Roxane by lowering the WACs?                   16    that was being implemented in March of 1998?
17       A. I don't know. I -- in the -- in the        17           MR. REALE: Object to form.
18   WAC adjustment that was done in -- and just to    18           THE WITNESS: It says that the net
19   clarify, I can only speak to the years that I've  19    sales are not expected to be impacted.
20   been there, so anything that happened prior to    20    BY MR. HEIDLAGE:
21   maybe '90 -- '98, I guess, when I kind of         21       Q. Do you have any information that the
22   realized the conceptual rather than just data     22    actual experience was different from what it was
                                                                             29 (Pages 110 to 113)
                               Henderson Legal Services
                                     202-220-4158

                                                                                       cbcef5b7-de87-41ea-82f8-5c305bb1c548
             Case 1:01-cv-12257-PBS Document 6195-19 Filed 06/26/09 Page 6 of 7

Paoletti, Lesli                                                                        July 26, 2007
                                           New York, NY
                                            Page 194                                                   Page 196
 1   And, in fact, that's the first time I even           1   being reported by First DataBank during any
 2   noticed it didn't have a Bates number.               2   period?
 3   BY MR. HEIDLAGE:                                     3       A. This appears to be one of the reports
 4       Q. Just note that, Ms. Paoletti, on the          4   that they asked us to -- this is the type of
 5   second page in paragraph 8, there's a statement,     5   report that they would send us annually or
 6   "If you have any questions, see Lesli Paoletti."     6   periodically and ask us to confirm the
 7       A. Yes.                                          7   information that's in it. And yes, it would have
 8       Q. Take some time and just review the            8   listed any product of Roxane's that they had in
 9   procedures that are set out in Exhibit Paoletti      9   their database, I think, that they had listed as
10   014. And my question to you will be whether you     10   active.
11   recognize those as procedures that were in place    11       Q. Do you recall approximately the time
12   at Roxane Laboratories with regard to its rebate    12   periods that First DataBank sent out these kinds
13   agreements during the time that you've been         13   of reports for verification of the prices being
14   employed by Roxane.                                 14   reported?
15       A. Okay. What was your question again?          15       A. I don't.
16       Q. My question is whether these are             16       Q. Was it -- was this one of the -- strike
17   procedures that you recognize as being procedures   17   that.
18   with regard to the rebate agreements that were in   18           Was the response to this kind of report
19   place and followed by Roxane Laboratories during    19   part of your duties and responsibilities when you
20   the time that you were employed by Roxane.          20   first started working for Ms. Waterer?
21       A. I don't remember. I do recall some of        21       A. You know, I know that there were a few
22   these access files, but it seems to me that all     22   times when I verified the information in these.
                                            Page 195                                                   Page 197
 1   of this occurred not too long before I moved into  1     I don't know if I was the one that did it every
 2   the responsibilities with Judy. And there was a    2     time.
 3   database and process in the process of being       3         Q. Okay. Was it your understanding that
 4   created when I was leaving, so I don't remember.   4     First DataBank sent these out periodically?
 5   I mean, that's all I remember about that.          5         A. Yes.
 6              (Exhibit Paoletti 015, document         6         Q. And at least annually?
 7   Bates stamped ROX-TX00860, marked for              7         A. You know, I don't know if they sent
 8   identification, as of this date.)                  8     them out every year. You know, it seems like we
 9   BY MR. HEIDLAGE:                                   9     still periodically get these from either First
10       Q. Ms. Paoletti, what I've placed before      10     DataBank or one of the other compendias, and I
11   you and marked as Exhibit Paoletti 014 [sic] is a 11     don't recall getting them every single year, but
12   one-page document with Bates number ROX-TX00860, 12      I do remember getting them on several different
13   and ask you whether that's a document that you've 13     occasions, if that helps.
14   seen before.                                      14         Q. I would just note that at the top of
15       A. Yes.                                       15     Exhibit Paoletti 014 [sic] in the columns,
16       Q. Is the handwriting on it your              16     there's a column WHLNET? Do you know what that
17   handwriting?                                      17     refers to?
18       A. Yeah, I believe so, and it's -- just to    18             MR. REALE: It's Exhibit Paoletti 015.
19   clarify, it's only one page of a much larger      19             MR. HEIDLAGE: Sorry, I had the wrong
20   document.                                         20     number. It's Exhibit Paoletti 015. I'm sorry.
21       Q. Is the larger document the document        21     Thank you.
22   that contains all of Roxane's products that were  22             THE WITNESS: What I think we
                                                                               50 (Pages 194 to 197)
                               Henderson Legal Services
                                     202-220-4158

                                                                                         cbcef5b7-de87-41ea-82f8-5c305bb1c548
             Case 1:01-cv-12257-PBS Document 6195-19 Filed 06/26/09 Page 7 of 7

Paoletti, Lesli                                                                     July 26, 2007
                                          New York, NY
                                           Page 198                                                 Page 200
 1   determined was that that was supposed to be the    1          If we are -- if we were launching a
 2   WAC price.                                         2   product and we were late to market and I wanted
 3   BY MR. HEIDLAGE:                                   3   to see what AWPs were available for -- AWPs or
 4      Q. Did you have any discussions with            4   WACs available for our competitors, I would go to
 5   anyone from First DataBank as to what WHLNET       5   this database.
 6   referred to?                                       6       Q. Now, can you tell what the date that
 7      A. I don't recall.                              7   this report was run -- let me strike that.
 8      Q. How did you determine that what that         8          Can you tell what date this report was
 9   referred to was the WAC price?                     9   run?
10      A. I probably verified the pricing that        10       A. No.
11   they had listed with our WAC.                     11       Q. Are the company's products that are
12      Q. Did you ever ask anyone from First          12   referred to here, are these all Roxane's
13   DataBank why the heading had the -- had NET at    13   products?
14   the end of it?                                    14       A. Judging by the leader code, the 00054.
15      A. No.                                         15   That's our leader code, so that should be --
16          MR. REALE: I don't want to interrupt       16   these should be Roxane products.
17   your flow but, what do are thinking in today's    17       Q. So the Price-Chek database is a
18   timing? It's 3:15 now.                            18   database that Roxane subscribed to?
19          MR. HEIDLAGE: I'm going to try to get      19       A. Yes.
20   finished by 4:00.                                 20       Q. And you could obtain the same kind of
21          MR. REALE: Okay.                           21   information with regard to any manufacturer's
22             (Exhibit Paoletti 016, document         22   products; is that correct?
                                           Page 199                                                 Page 201
 1   Bates stamped PAOLETTI 02176 through 188, marked 1         A. Any manufacturer who had their products
 2   for identification, as of this date.)              2   listed.
 3   BY MR. HEIDLAGE:                                   3       Q. Were you able to have the database
 4       Q. Ms. Paoletti, what I've placed before       4   search for products that were equivalent to
 5   you and marked as Exhibit Paoletti 016 is a        5   Roxane products that you put into the database?
 6   document with the heading of PRICE-CHEK and it     6       A. I think you could look it up by product
 7   has Bates numbers PAOLETTI 02176 through 02188.    7   name, and there were probably other criteria that
 8   And I would ask you whether that is a form of      8   you could tell it to include or exclude.
 9   document that you've seen before.                  9              (Exhibit Paoletti 017, document
10       A. Yes.                                       10   Bates stamped PAOLETTI 09457 through 459, marked
11       Q. And what is it?                            11   for identification, as of this date.)
12       A. It is a report out of the Price-Chek       12   BY MR. HEIDLAGE:
13   database. Again, I don't recall if it's Medispan  13       Q. Ms. Paoletti, what I've placed before
14   or if it's First DataBank.                        14   you and marked as Exhibit Paoletti 017 is a
15       Q. And what did you use the Price-Chek        15   three-page document bearing Bates numbers
16   database for?                                     16   PAOLETTI 09457 through 09459, and I would ask you
17       A. Use it to pull up what competitors had     17   to take a look at 09459.
18   products actively listed in -- in First DataBank  18       A. Okay.
19   or Medispan, which would tell me -- would give me 19       Q. And ask whether you can identify that
20   an idea of whether or not they were actively      20   as -- if you can identify it as a form that
21   selling the product. I would also maybe use it    21   you've seen before.
22   for discontinuation dates.                        22       A. Yes.

                                                                            51 (Pages 198 to 201)
                              Henderson Legal Services
                                    202-220-4158

                                                                                      cbcef5b7-de87-41ea-82f8-5c305bb1c548
